          Case 2:07-cr-00515-WBS Document 230 Filed 06/08/10 Page 1 of 2

     KRESTA NORA DALY, SBN 199689
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 2
     Sacramento, CA 95814
 3
     Attorney for Aricela Villa
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 7
                        IN THE UNITED STATES DISTRICT COURT
 8
                      FOR THE EASTERN DISTRICT OF CALIFORNIA
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10
11   UNITED STATES OF AMERICA,               ) Case No.: 2:07cr00515
                                             )
12                    Plaintiff,             ) STIPULATION AND ORDER
                                             ) DATE: August 16, 2010
13
           v.                                ) TIME: 8:30 a.m.
14                                           )
     ARICELA VILLA,                          ) JUDGE: Honorable William Schubb
15                                           )
                      Defendants.            )
16                                           )
17
18        It is hereby stipulated and agreed to between the United

19   States of America through MICHAEL BECKWITH, Assistant U.S.

20   Attorney, and defendant, Aricela Villa, through her counsel,

21   KRESTA DALY, that the sentencing hearing of August 23, 2010 be

22   vacated and that sentencing hearing be set for October 18, 2010

23   at 8:30 a.m.

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          Case 2:07-cr-00515-WBS Document 230 Filed 06/08/10 Page 2 of 2
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 1
 2   DATED:   June 7, 2010             Respectfully submitted,

 3
 4
 5                                       s/Kresta Daly
                                       KRESTA DALY
 6
                                       Attorney for Aricela Villa
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 9
                                          s/Kresta Daly
10   DATED:   June 7, 2010             Michael Beckwith
                                       Assistant United States Attorney
11
12
13                                  O R D E R

14
          IT IS SO ORDERED.
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     DATED:   June 7, 2010
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